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1      STEPHEN T. FAIRCHILD
       WA Bar No. 41214; sfairchild@ftc.gov
2      RICHARD MCKEWEN
3      WA Bar No. 45041; rmckewen@ftc.gov
       FEDERAL TRADE COMMISSION
4      915 Second Avenue, Suite 2896
5      Seattle, WA 98174
       Tel.: (206) 220-6350; Fax: (206) 220-6366
6
7  ROBERT J. QUIGLEY, Local Counsel
 8 CA Bar No. 302879; rquigley@ftc.gov
   FEDERAL TRADE COMMISSION
 9 10990 Wilshire Boulevard, Suite 400
10 Los Angeles, CA 90024
   Tel.: (310) 824-4300; Fax: (310) 824-4380
11
12 Attorneys for Plaintiff
13
                          UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
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16
       FEDERAL TRADE COMMISSION,                   Civ. No. 8:19-cv-02109-JVS (ADSx)
17
18                       Plaintiff,                DECLARATION OF FTC
                                                   COUNSEL RICHARD MCKEWEN
19                            v.                   REGARDING SUPPLEMENTAL
20                                                 DECLARATION OF DEFENDANT
       AMERICAN FINANCIAL SUPPORT                  RUDDY PALACIOS
21
       SERVICES INC., et al.,
22                                                 Hearing Date: November 18, 2019
23                       Defendants.               Hearing Time: 3:00pm
                                                   Courtroom 10C
24                                                 Hon. James V. Selna
25
26
27           I, Richard McKewen, hereby state that I have personal knowledge of the
28 facts set forth below:
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1          1. I represent Plaintiff Federal Trade Commission in the above-captioned
2              proceeding. I submit this Declaration and the Attachment hereto to dispel
3              any confusion that may arise as a result of the Supplemental Declaration of
4              Ruddy Palacios filed on November 19, 2019. Dkt. 70.
5          2. As the Receiver noted in his Preliminary Report, Debt Pay Gateway, Inc.
6              (“DGP”) is a third-party account management company which receives,
7              holds, and disburses funds on behalf of Arete’s debt settlement customers.
8              See Dkt. 57-1 at 17.
9          3. On November 7, 2019, my co-counsel Stephen Fairchild and I spoke by
10             telephone with counsel for DPG, Aaron Watts. During our call, Mr. Watts
11             explained that after Arete enrolls a consumer in a debt settlement program,
12             the consumer makes regular payments to DPG. DPG then distributes a
13             portion of each payment to the consumer’s creditors pursuant to the terms of
14             any agreement with the creditors. A portion of the consumer’s payment is
15             also remitted to Arete as fees for Arete’s services.
16         4. During the call, Mr. Watts asked for clarification regarding the reach of the
17             asset freeze imposed by the TRO. We explained that the FTC’s position was
18             that as consumer payments come in to DPG, DPG should continue
19             disbursing funds to creditors so that consumers will not be adversely
20             impacted, but that the portion of the payments destined for Arete should be
21             frozen and held until DPG received instruction from the Receiver as to what
22             to do with those funds. Mr. Watts indicated that DPG would do that.
23         5. Our telephone conversation with Mr. Watts was memorialized in an email
24             exchange later that day. A true and correct copy of that email exchange is
25             annexed hereto as Attachment A.
26         6. According to the Receiver’s Preliminary Report, DPG is “currently holding
27             approximately $5.3 million for the benefit of 7,778 customers.” Dkt. 57-1 at
28             17. It is unclear at this time what portion of the $5.3 million are Arete’s



       Declaration of FTC Counsel Richard McKewen – 2
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1              accumulated fees and what portion are sums to be paid to consumers’
2              creditors. In any event, if Arete’s accumulated fees held by DPG were
3              unfrozen and released for Defendants Palacios, Hsu, Pomazi, or Carey Howe
4              to resume operations, then those individuals could, indeed, do with those
5              funds as they please.
6
7      I declare under penalty of perjury that the foregoing is true and correct.
8
9      Executed this 19th day of November, 2019, at Seattle, Washington.
10
11
12                                             s/Richard McKewen
                                               Richard McKewen
13                                             Counsel for Plaintiff Federal Trade Commission
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       Declaration of FTC Counsel Richard McKewen – 3
    Case 8:19-cv-02109-JVS-ADS Document 71 Filed 11/19/19 Page 4 of 5 Page ID #:3356


McKewen, Richard

From:                                  Fairchild, Stephen
Sent:                                  Thursday, November 07, 2019 11:53 AM
To:                                    Aaron C. Watts
Cc:                                    McKewen, Richard; jdykstra@wattslawyers.com; Edward Chang; Jasmine Gonzalez
Subject:                               Re: Debt Pay Pro/Arete Financial



Aaron,

Yes, the FTC’s position at present is that the Receiver would need to decide on the disposition of Fees in the
event that a Customer requests the return of all Fees in his or her Account(s).

Thanks,
Steve

On Nov 7, 2019, at 11:44, Aaron C. Watts <awatts@wattslawyers.com> wrote:

         Stephen - -

         Thank you for your quick e-mail. I wanted to clarify that there are also deposits being made into
         the individual debtor/consumer ("Customer") accounts with Debt Pay Gateway ("DPG") that
         received services from Arete Financial (the "Accounts"). These deposits are made by the
         Customer to fund their disbursements. DPG will continue to account for each deposit and
         disbursement associated with the Accounts. DPG will be "freezing" payment of fees from those
         Accounts to Arete Financial for the subject debt relief services ("Fees"). DPG is working on a
         way to separately account for those Fees so that in the future we can provide that information to
         the Receiver (and the FTC if requested). However, the Fees will remain in the Accounts. This
         brings up an issue that came up after we had our telephone call. If the funds representing the
         Fees are left in the Accounts, they are technically owned by the Customer associated with that
         Account. To that end, if a Customer requests their Account be closed and all funds located in
         their Account be returned to them, which could happen, all funds would necessarily include the
         Fees owed to Arete. I expect you would agree we should be holding those Fees back if such a
         request from a Customer was made, until the Receiver decides what to do with them? Please
         advise.

         Thank you for your prompt attention to this matter.

         Regards,

         Aaron




         ___________________________
         2601 Main Street, Suite 980
         Irvine, California 92614
         (949) 622-8980 Main Line
                                                                1
                                                          Attachment A
                                                       McKewen Declaration
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  (949) 622-8901 Facsimile
  Email:awatts@wattslawyers.com



  On Thu, Nov 7, 2019 at 10:05 AM Fairchild, Stephen <sfairchild@ftc.gov> wrote:
   Hello Aaron,

   Thank you for our phone call this morning. To review the understanding we reached, the FTC’s
   position at this point is that Debt Pay Pro may disburse those portions of consumer accounts
   that are intended for payment to creditors as settlement for the consumers’ debts. The portions
   of those accounts intended for payment to Arete Financial or related defendants will remain
   frozen pursuant to the asset freeze in the TRO entered by the Court.

   Please let me know if you have any questions or would like to discuss further.

   Best regards,
   Stephen Fairchild




                                                   2
                                             Attachment A
                                          McKewen Declaration
